                     Case 1:24-cv-00648-AA                                       Document 1-1     Filed 04/16/24     Page 1 of 1
                                                                                        FILED'24 APR 1611 G5USDC-ORH

JS 44 (Rev. 04/21)                                                       CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court This form. approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet (SEE INSTRUCTIONS ON NEXI PAGE OF THIS FORJ.l)
I. (a) PLAINTIFFS                                                                                          DEFENDANTS
          Paris, Arnaud                                                                                    Brown, Heidi Marie
     (b) County of Residence ofFirst Listed Plaintiff French Citizen                                       County of Residence of First Listed Defendant                  Jackson County
                              (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (JN U.S. PLAJNTJFFCASES ONLY)
                                                                                                           NOTE:      lN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

     (c) Attorneys {Finn Name, Address, and Telephone Number)                                               Attorneys (If Known)

          Pro Per                                                                                          Unknown

II. BASIS OF JURISDICTION (Place an "X''inOneBaxOntyJ                                         UL CITIZENSHIP OF PRINCIPAL pARTIES (Pia.ce an ..]('' in One Box fer Plaintiff
                                                                                                        (For Diversity Dues Only)                                         and Orie Box/or Defendant)
□,      U.S. Government           C8]3     Federal Question                                                                     PTF        DEF                                              PTF      DEF
          Plaintiff                          (U.S. Government Not a Pany)                         Citizen of This State           ID       ~             Incorporated ar Principal Place      D  4     D
                                                                                                                                                                                                       4
                                                                                                                                                           ofBosiness In Thill State

o,     U.S. Government            □•       Diversity                                              Citizen of Another State         □,      □             Incorporated and Principal Place     □,       o,
         Defendant                           (lndiaite Citizenship ofParties itJ Item Ill)                                                           '     of Business In Another Slllte

                                                                                                  Citizen or Subject ofa           1:813   □             Foreign Nation                       □,       □,
                                                                                                    Fon:igq Country
                                 lace an "X'' in One Box OnlJ,                                                                         Click here for: Nature of Suit Code Descri tions.
         ·coNTRAcr                                      TORTS                                       FORFEITURF.JPENALTY                       BANKRUPTCY                          OTIIER STATUTES




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  110 Jn,rurance                  PERSONAL INJURY               PERSONAL INJURY                     625 Dmg Related Seizun:                422 Appeal 28 USC 158                375 False Claims Act
  120 Marine                      310 Aiiplane                   0
                                                               365 Personal Injury -                    of Property 21 use 881             423 Withdrawal                       376QuiTam(31 USC
  130 Miller Act                  315 Airplane Product               Product Liability              690 Other                                  28USC 157                             3729(a))
  140 Negotiable Instrument            Liability                 0
                                                               367 Health C:M.e/                                                             INTELLECTUAL                       400 State Reapportionment
  I SO Recovecy of Overpayment    320 Assault, Libel &              Pharmaceutical                                                          PROPERTY RIGHTS                     410 Antitrust
       & Enforcement of Judgmen        Slander                      Personal Injury                                                        820 Copyrights                       430 Banks and Banking

B Is I Medicare Acl
  152 Recovery of Defaulted
        Sb.ident Loans
                                 330 Federal Employers'
                                       Liability
                                 340Marine
                                                                 0
                                                                    Product Liability
                                                               368 Asbestos Personal
                                                                     Injury Prodocl
                                                                                                                                           830 Patent
                                                                                                                                           835 Patent- Abbreviated
                                                                                                                                               New Drug Application
                                                                                                                                                                                4SOCo=erce
                                                                                                                                                                                460 Deportation
                                                                                                                                                                                470 Racketeer lnfluenced and
       {Excludes Vetenms)        345 Marine Product                  Liability                                                             840 Trademarl:.                          Corrupt Organizations
0 153 Recovery of Overpayment          Liability              PERSONALPROPERlY                               LABOR                         880 Defend Trade Secn:1.s            480 Consumer Credit
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D
       ofVeteran·s Benefil.s
  160 Stockholders' Suits
  190 OthcrContr.ict
                                 350 Motor Vehicle
                                 355 Motor Vehicle
                                      Product Liability
                                                                 El0
                                                               370 Olher Fraud
                                                               371 TorthinLcndiug
                                                               3800thef'Personal
                                                                                                    710 Fnir Labor Standards
                                                                                                        Act
                                                                                                    720 Labor/Management
                                                                                                                                               Act of2016

                                                                                                                                            SOCIAL SECURITY
                                                                                                                                                                                485 Telephone Co=cr
                                                                                                                                                                                     Protection Act

El195 Contract Product Liability
  196 Franchise
                                  360 Other Personal
                                      Injury
                                  362 Personal Injury-
                                                                 0
                                                                    Property Damage
                                                               38.5 Property Damage
                                                                    Product Liability
                                                                                                         Relations
                                                                                                    740 Railway Labor Aet
                                                                                                    751 Family and Medical
                                                                                                                                           861 HIA (1395£1)
                                                                                                                                           862 Black Lung (923)
                                                                                                                                           863 DIWCJDIWW (405(g))
                                                                                                                                                                                490 Cable/Sat TV
                                                                                                                                                                                850 Securilies/Commodities.'
                                                                                                                                                                                     Exchange
                                      Medical Malpractice                                                Leave Act                         864 SSID Title XVI                   890 Other St:.itutoi;y Actions
               PR PER               CIVIL RIGHTS              PRISO ER PETITIONS                    790 Other Labor Litigation             865 RSI (40S(g))                     891 Agricultural Acts
  210 Land Condemnation          440 Other Civil Rights        Habe:is Corpus:                      791 Employee Retirement                                                     893 Environmental Matters
  220 Foreclosure                441 Voting                    463 Alien Detainee                       Income Security Act                     F.                              895 Frcedomofinformation




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  230 Rent Lease & Ejectment     442 Employment                510 Motions to Vacate                                                       870 Taxes (U.S. Plaintiff                Act
  240 Tom to Land                443 Housing/                       Sentence                                                                    or Dvfendunt)                   896 Arbitmtion
  245 Tort Product Liability          Acrommodations           530 General                                                                 871 IRS-Thinl Party                  899 Administrative Procedure
  290 All Other Real Property    445 Amer. w/Disabilities -    535 Death Penalty                        IMMJGRATJON                             26USC7609                           Act/Review or Appeal of
                                      Employment               Other:                               462 Naturalization Application                                                  Agency Decision
                                 446 Amer. w/Disabilities -    540 Mandamus & Other                 465 Other Immigration                                                       950 Constitutionality of
                                      0th«                     550 Civil Rights                         Actions                                                                     State Statutes
                                 448 Education                 555 Prison Condition
                                                               560 Civil Delainee -
                                                                    Conditions of
                                                                    Confinement
V. ORIGIN (l'lacean '"X''inOneBoxOnly)
I!] I Original            D2 Removed from
                                                       □'        Remanded from               D 4 Reinstated or D 5 Transferred from D 6 Multidistrict                                D 8 Multidistrict
       Proceeding            State Court                         Appellate Court                  Reopened                   Another District                  Litigation -                 Litigation -
                                                                                                (specify)                       Transfer                                                    Direct File
                    Cite the U.S. Civil Statute under which you are filing (Do not du jurisdictional statutu unles, diversity):
VI. CAUSE OF ACTION lntemational Child Abduction Remedles Aet. (ICARA}, 22 u.s.c. § 9003 b)
                                     Brief description of cause:
                                         o secure the Immediate return of children wrongfully removed from France and wrongfully retained in Oregon
VII. REQUESTED IN                    O CHECK IF THIS JS A CLASS ACTION                              DEMANDS                                          CHECK YES only if demanded in complaint:
        COMPLAINT:                          UNDERRIJLE23,F.R.Cv.P.                                                                                   JURYDEMAND,          □ Yes     18]No

VIII. RELATED CASE(S)/,/                          U--=-
                                                     1
         IF ANY                  ~r/ii:,J;," '                    JUDGE                                                                    DOCKET NUMBER
DATE                                                                   SIGNATURE OF ATTORNEY OF RECORD
April 15th, 2024
FOR OFFICE USE O~'"LY

     RECEIPT#                  AMOUNT                                     APPLYING IFP                                     JUDGE                                MAG.IDDGE
                                                                                                                                 -----                                         -------
